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                          ITED STATES BANKRUPTCY COURT                   JAN 1 9 2016
                        EASTERN DISTRICT OF CALIFORNIA              [_
                                                                 UNITED STATES BANKRUPTCY CC JRT
                                                                  EASTERN DISTRICT OF CALIFOR IA



In re:                                          Case No. 15-27614-B-13

STEPHEN AUSTIN DeGUIRE and                       DC No. WFH-1
SANDRA KAY DeGUIRE,
             Debtors.


In re:                                           Case No. 15-27615-B-13

COREY CLINTON DeGUIRE,                           DC No. WFH-1

             Debtor.


  ?MORANDUM DECISION AND ORDER GRANTING IN PART AND DENYING IN
   PART MOTION TO DISMISS CASE NO. 15-27614, GRANTING MOTION TO
DISMISS CASE NO. 15-27615, AND DENYING CONFIRMPJTION OF CHAPTER 13
             PLANS IN CASE NOS. 15-27614 AND 15-27615

INTRODUCTION
     Presently before the court is a motion by Maricopa Orchards,
LLC to dismiss the following related Chapter 13 cases: (1) In re
Stephen Austin DeGuire and Sandra Kay DeGuire, Case No. 15-27614;
(2) In re Corey Clinton DeGuire, Case No. 15-27615. There are
also pending motions to confirm Chapter 13 plans filed in both

cases.
         Except for a few matters particular to the respective
individuals such as the debtors' ages, families, and income, the
facts relevant to the court's disposition of Naricopa's motion to

dismiss each case are identical and so are the respective
debtors' oppositions and declarations. According to each of the
debtors, the key facts in both cases are either undisputed or not
reasonably subject to dispute. Each of the debtors in both cases
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1    also consent to the resolution of all factual disputes under

2    Federal Rule of Civil Procedure 43(c) made applicable by Federal

3    Rule of Bankruptcy Procedure 9017. See also LBR 9014-1(b) (1) (A).

4         The court has reviewed and considered the motions to

5    dismiss, the oppositions, the replies, the debtors' additional

6    evidentiary objections, all related declarations and exhibits,

7    and the supplemental points and authorities the court requested

 8   from the parties. The court has also heard and considered the

 9   arguments and statements of counsel made on the record in open

10   court on December 9, 2015. For the reasons explained below,

11   Stephen DeGuire will be dismissed as a debtor in Case No.

12   15-27614 and the case filed by Corey DeGuire as Case No. 15-27615

13   will be dismissed. Dismissal is required because both Stephen

14    DeGuire and Corey DeGuire are each ineligible under 11 U.S.C.

15    § 109(e) to be debtors under Chapter 13 of the Bankruptcy Code. 1

16    Stephen DeGuire and Corey DeGuire are ineligible to be Chapter 13

17    debtors because each have noncontingent, liquidated, unsecured

18    debts that exceed the statutory cap of $383,175. Confirmation of

19    the plans filed in both cases will also be denied.

20
21   I PROCEDURAL BACKGROUND
22         Stephen DeGuire and Corey DeGuire filed petitions for relief

23
           'Sandra DeGuire may, if she chooses, remain a Chapter 13
24    debtor even if Stephen DeGuire is ineligible under § 109 (e) . See
      11 U.S.C. § 302; In re Tabor, 232 B.R. 85, 92-93 (Bankr. N.D.
25
      Ohio 1999) (court determined that, while debtor-husband was
26    ineligible for Chapter 13 bankruptcy, debtor wife was eligible
      because she was only liable for her joint and separate debts and
27    therefore dismissed as to ineligible spouse)

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1    under Chapter 13 of the Bankruptcy Code on September 29, 2015.

2         Each also filed plans of reorganization on October 27, 2015.

3    On November 6, 2015, the DeGuires in both cases filed motions for

4    orders confirming their respective plans and applications for

5    orders shortening the time for a confirmation hearing. The court

6    granted those applications and shortened the time for the

7    confirmation hearing in both cases. Confirmation hearings were

 8   scheduled for December 16, 2015.

 9        On November 18, 2015, Naricopa filed motions to dismiss both

10 I Chapter 13 cases. The court held a preliminary hearing on
11   Maricopa's motions to dismiss on December 9, 2015, at which time

12   it heard and considered the arguments and statements of counsel

13   made on the record in open court. The court also permitted

14   Maricopa to file a reply to the debtors' opposition which

15   Maricopa timely filed.

16        The hearing on Maricopa's motions to dismiss and the

17   confirmation hearings were continued to January 6, 2016, and then

18   to January 20, 2016, after the court identified an issue that was

19   not addressed by the parties and requested additional briefing.

20   By this memorandum decision, the court disposes of Marciopa's

21   motions to dismiss and the confirmation hearings in Case Nos. 15-

22   27614 and 15-27615. And consistent with each of the debtors'

23   consent to resolution of the motions under Federal Rule of Civil

24   Procedure 43(c), made applicable by Federal Rule of Bankruptcy

25   Procedure 9017, no further hearings are ordered.

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1    STATEMENT OF FACTS

2         DeGuire Marketing, LLC, was a California limited liability

3    company. It was an international commodities and marketing

4    company, conducting credit sales and marketing with international

5    customers as well as domestic national and regional chains,

6    including Raley's, Costco, Winco, Safeway and Schnucks. Stephen

7    DeGuire and his son Corey DeGuire were the sole members of

 8   DeGuire Marketing.

 9        The loss of Maricopa's business and mounting legal fees

10   caused DeGuire Marketing to become insolvent. Maricopa informed

11   DeGuire Marketing on December 20, 2013, that it would not

12   continue to do business with DeGuire Marketing for the 2014 crop

13   year. Nevertheles, Maricopa continued to do business with

14   DeGuire Marketing through December 2014. DeGuire Marketing's

15   litigation costs also began to mount in March of 2015, and it was

16   sued by Maricopa in May of 2015. By September 23, 2015, DeGuire

17   Marketing was defunct, dissolved, and wound up. Stephen DeGuire

18   and Corey DeGuire filed their Chapter 13 petitions six days later

19   on September 29, 2015.
20        DeGuire Marketing did not pay Maricopa in full for
21   Maricopa's 2013 almond crop. On or about December 29, 2014,

22   DeGuire Marketing provided Maricopa with an accounting that
23   DeGuire Marketing prepared through December 23, 2014. That

24   accounting reflected sales of Maricopa's 2013 almond crop of
25   $8,305,034.47 and payments to Maricopa of $7,318,416.97 for an
26   unpaid difference of $986,617.50. DeGuire Marketing setoff the
27

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 1    unpaid difference for the 2013 almond crop with an overpayment it

 2    made to Maricopa of approximately $1,442,439.12 for Maricopa's

 3    2010 almond crop.
 4         DeGuire Marketing's obligation to Maricopa for the 2013

 5    almond crop is listed as a co-debtor obligation of Stephen

 6    DeGuire and Corey DeGuire in Schedule F each debtor filed in

 7    their respective case. It is also listed as contingent,

 8    unliquidated, and disputed. The amount of the obligation is not

 9    stated. However, for purposes of Maricopa's motions to dismiss

10    and this decision, that amount is determined to be $986,617.50. 2

11         Schedule H filed by Stephen Deguire and Corey DeGuire in

12    their respective cases also lists both Stephen DeGuire and Corey

'13   DeGuire as co-debtors with DeGuire Marketing for the debts listed

14    on their respective Schedules F. That includes DeGuire

15    Marketing's scheduled debt to Maricopa. Schedule H in both

16    Chapter 13 cases also lists Stephen DeGuire and Corey DeGuire as

17    co-debtors of one another.

18
19
           2 The debtors' oppositions state that DeGuire Marketing is
20
      entitled to exercise a valid right of setoff in the amount of
21    $1,442,439. They also state this setoff is truthfully and
      accurately stated in the sales summary referenced in the
22    declaration submitted by Tobin Martin in support of the motions
      to dismiss. The only sales summary referenced in Mr. Tobin's
23    declaration and submitted with the motions to dismiss - and the
      only sales summary considered by the court for purposes of this
24    decision - is Maricopa's Exhibit B. Since no party disputes the
      authenticity, validity, or accuracy of that Exhibit B, the court
25    uses it to establish the debt for eligibility purposes. The
26    court calculates that debt as follows: sales of $8,305,034.47
      and receipts paid to Maricopa at $7,318,416.97 for an unpaid
27    difference of $986,617.50.

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 1    JURISDICTION

 2         Federal subject-matter jurisdiction is founded on 28 U.S.C.

 3    § 1334. These matters are core proceedings that a bankruptcy

 4    judge may hear and determine. 28 U.S.C. §§ 157(b) (2) (A), (L),

 5    and (0) . To the extent they may ever be determined to be matters

 6    that a bankruptcy judge may not hear and determine without

 7    consent, the parties nevertheless consent to such determination

 8    by a bankruptcy judge. 28 U.S.C. § 157(c) (2). Venue is proper

 9    under 28 U.S.C. § 1409.
10
11    DISCUSSION

12         Whether Stephen DeGuire and Corey DeGuire are eligible to be

:13   Chapter 13 debtors turns on the amount of their noncontingent,

14    liquidated, unsecured debt. Section 109(e) limits eligibility

15    for Chapter 13 relief to individuals with regular income who owe

16    on the date of the filing of the petition, noncontingent,

17    liquidated, unsecured debts of less than $383,175.         Eligibility

18    debt limits are strictly construed. Soderlund v. Cohen (In re

19    Soderlund), 236 B.R. 271, 274 (9th Cir. BAP 1999).

20         Eligibility under § 109(e) is normally determined by a

21    review of a debtor's originally filed schedules, checking only to

22    see if the schedules were made in good faith. In re Scovis, 249

23
           3In relevant part, § 109(e) states as follows:
24         Only an individual with regular income that owes, on
           the date of the filing of the petition, noncontingent,
25
           liquidated, unsecured debts of less than $383,175
26         may be a debtor under chapter 13 of this title.

27    11 U.S.C. § 109(e).

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1    F.3d 975, 982 (9th Cir. 2001) . However, if a bad-faith objection

2    is raised by a party in interest, the bankruptcy court should

3    look past the schedules to other evidence submitted so long as

4    the debt computation for eligibility is determined as of the

5    petition date. Id. at 981 (internal quotations omitted);

6    Guastella v. Hampton (In re Guastella), 341 B.R. 908, 918-921

7    (9th Cir. BAP 2006) . Here, Maricopa has raised bad faith and

 8   eligibility issues both as to the filing of the two Chapter 13

 9   cases and confirmation of the plans filed by each of the

10   respective debtors in those cases. Therefore, the court will

11   conduct a limited inquiry beyond the schedules and will consider

12   limited evidence submitted by the parties including their

13   respective declarations and related exhibits. 4

14

15   Unsecured and Noncontingent Debt
16        DeGuire Marketing's obligation to Maricopa for the 2013

17   almond crop payment is an unsecured debt. It is also a
18   noncontingent debt inasmuch as it is based on and arises from
19   events that occurred entirely pre-petition. See In re Loya, 123

20   B.R. 338, 340 (9th Cir. BAP 1991); see also Nicholes v. Johnny
21   Appleseed of Wash. (In re Nicholes), 184 B.R. 82, 88 (9th Cir.
22   BAP 1995) . By asserting that DeGuire Marketing is entitled to
23
          4 Guastella states this limited inquiry should be conducted
24   without engaging in extensive proceedings and without allowing
     evidentiary hearings to dominate the inquiry. Guastella, 341
25
     B.R. at 918. The court again notes that each of the debtors have
26   consented to resolution of disputed factual issues without the
     need for further hearings. This approach is entirely consistent
27   with Scovis and Guastella.

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      setoff what its owes Naricopa for the 2013 almond crop with what

      it paid Maricopa for the 200 almond crop, each of the debtors

      acknowledge the existence of a pre-petition debt that is not
      contingent and does not depend on the occurrence of any event or

5     condition precedent. In otb1 er words, in order to exercise a

6     right of setoff, there must first be an existing debt subject to

7     setoff.

 8
 9    Liquidated Debt

10         The primary dispute is whether this noncontingent, unsecured

11    debt is liquidated. Each of the debtors maintain the debt is

12    unliquidated because it is disputed and not readily

13    ascertainable. Disputed claims are not excluded from the

14    eligibility calculation. Nicholes, 184 B.R. at 90-91 (holding

15    that "the fact that a claim is disputed does not per se exclude

16    the claim from the eligibility calculation under § 109(e), since

17    a disputed claim is not necessarily unliquidated")

18    Nevertheless, each of the debtors maintain the debt is

19    unliquidated because it is disputed as to both amount and

20    liability. It is allegedly disputed as to amount because it is

21    subject to setoff and as to liability because Stephen DeGuire and

22    Corey DeGuire are not personally liable for DeGuire Marketing's

23    obligation to Maricopa. Neither argument is persuasive.

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1    Liquidated as to Amount

2         Each of the debtors maintain that DeGuire Marketing's

3    obligation to Maricopa for the 2013 almond crop is not liquidated

4    because the amount is disputed and not readily determinable.

5    They maintain the amount is disputed and not readily determinable

6    because the amount due Maricopa for the 2013 almond crop is

7    subject to a valid right of setoff based on an overpayment to

 8   Maricopa for the 2010 almond crop. The court disagrees.

 9        A debt is liquidated for purposes of calculating Chapter 13

10   eligibility if the amount of the debt is readily determinable

11   even if liability has not been finally decided. Slack v.

12   Wilshire Ins. Co. (In re Slack), 187 F.3d 1070, 1073-75 (9th Cir.

13   1999) . This depends on whether the amount is easily calculable

14   or whether an extensive hearing is needed to determine the amount

15   of the debt. Id. at 1074. "The definition of 'ready

16   determination' turns on the distinction between a simple hearing

17   to determine the amount of a certain debt, and an extensive and

18   contested evidentiary hearing in which substantial evidence may

19   be necessary to establish amounts or liability." Id. at 1073-74

20   (quotation omitted)
21        DeGuire Marketing's obligation to Naricopa for the 2013

22   almond crop can be readily determined from the accounting that
23   DeGuire Marketing prepared and provided to Maricopa in December
24   2014, i.e., $986,617.50. The amount of that obligation is
25   readily determinable - and thereby liquidated as to amount - even
26   if it is subject to a valid right of setoff. On the latter
27
28                                       S
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1    point, the Ninth Circuit is clear: The existence of a right of

2    setoff - even if it exceeds and would negate an amount owed to a

3    creditor - does not convert a liquidated debt into an

4    unhiquidated obligation. Sylvester v. Dow Jones and Co. (In re

5    Sylvester), 19 B.R. 671, 673 (9th Cir. BAP 1982); see also

6    Quintana v. Comm'r (In re Quintana), 915 F.2d 513, 517 (9th Cir.

7    1990) (holding that debtors may not use a counterclaim to setoff

 8   the amount of debt for Chapter 12 eligibility purposes) . Here,

 9   the amount of DeGuire Marketing's obligation to Maricopa is

10   easily calculated and readily determinable by subtracting the

11   amount DeGuire Marketing paid Maricopa for the 2013 almond crop

12   from the amount of sales of Maricopa's 2013 almond crop. Any

13   right of setoff that DeGuire Marketing has against Maricopa is

14   not relevant and, thus, is not considered in this determination.

15   Therefore, as to amount, DeGuire Marketing's obligation to

16   Maricopa is liquidated.
17

18   Liauidated as to Liabilit
19        Each of the debtors offer a number of reasons why Stephen
20   DeGuire and Corey DeGuire are not personally liable for DeGuire
21   Marketing's debt to Maricopa and, thus, why the debt owed
22   Maricopa is unliquidated as to liability. They also maintain
23   that resolution of any personal liability would require
24   significant evidentiary hearings. According to each of the
25   debtors, that means the debt is not readily ascertainable and,
26   therefore, unliquidated. Again, the court disagrees.
27

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1         California courts adhere to the "trust fund doctrine"

2    pursuant to which all of the assets of a corporation, immediately

3    upon becoming insolvent, become a trust fund for the benefit of

4    the corporation's creditors. Berg & Berg Enter., LLC v. Boyle,

5    100 Cal. Rptr. 3d 875, 893 (Cal. Ct. App. 2009); see also In re

6    Jacks, 266 B.R. 728, 737 (9th Cir. BAP 2000) . The doctrine

7    imposes fiduciary obligations on directors of the insolvent

 8   entity for the benefit of the entity's creditors. Berg, 100 Cal.

9    Rptr. 3d at 893-94; Scouler & Co., LLC v. Schwartz, 2012 WL

10   1502762 *5 (N.D. Cal. 2012) . These duties arise at insolvency

11   and require the avoidance of diverting, dissipating, or unduly

12   risking corporate assets. Berg, 100 Cal. Rptr. 3d at 894. More

13   important, these fiduciary duties exist "prior to any wrongdoing

14   and without reference to [any] wrong." Houng v. Tatung Co.,

15   Ltd., 2016 WL 145841 at *1 (9th Cir. 2016) (internal quotations

16    and brackets removed); see also In re Kallmeyer, 242 B.R. 492

17    (9th Cir. BAP 1999) (fiduciary duties under trust fund doctrine

18    imposed prior to any defalcation and independently of any

19    wrongdoing and exist prior to and without reference to it) .

20         Each of the debtors attribute DeGuire Marketing's insolvency

21   I to two events: (1) the loss of Maricopa's business and (2)
22
           5 Although limited liability companies differ from
23    corporations, the same policies of protecting creditors of
      insolvent corporations are applicable to creditors of insolvent
24    limited liability companies. See In re Houng, 499 B.R. 751, 771
      n. 52 (C.D. Cal. 2013), aff'd, 2016 WL 145841(9th Cir. 2016);
25
      Dollar Tree Stores, Inc. v. Toyama Partners, LLC, 2011 WL 3295420
26    at *9 (N.D. Cal. 2011); JPMorgan Chase Bank, N.A. v. KB Home, 632
      F. Supp. 2d 1013, 1027 (D. Nev. 2009); In re McCook Metals,
27    L.L.C., 319 B.R. 570, 595 (Bankr. N.D. Ill. 2005).

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1    mounting legal costs. The former occurred as late as December

2    2014 and the latter occurred between May 2015 (when DeGuire

3    Marketing was hit with a second lawsuit) and September 23, 2015

4    (when DeGuire Marketing was defunct, dissolved, and wound up)

5    But in any event, the debtors' admissions permit the court to

6    conclude that DeGuire Marketing was insolvent at least six days

 7   before - and therefore on - the petition date.

 8        DeGuire Marketing's insolvency imposed fiduciary obligations

 9   on Stephen DeGuire and Corey DeGuire. Those duties extended to

10   all of DeGuire Marketing's creditors and included personal and

11   individual liability to Maricopa for the unpaid balance of

12   Maricopa's 2013 almond crop. That personal liability was

13   noncontingent inasmuch as it was based on a prepetition event,

14   i.e., the insolvency of DeGuire Marketing. Personal liability

15   was also liquidated even in the absence of a determination that

16   the duties were breached because the duties - and thus personal

17   liability - existed prior to any wrongdoing and independent of
18   any wrong. Therefore, just as the amount of DeGuire Marketing's

19   noncontingent unsecured obligation to Maricopa was liquidated at
20   $986,617.50 on the petition date, so too was the personal

21   liability of Stephen DeGuire and Corey DeGuire for that
22   obligation.
23        The court's conclusion is reinforced by the schedules that
24   Stephen DeGuire and Corey Deguire each filed in their respective
25   cases. Those schedules contemplate each of the debtors' personal
26   liability for DeGuire Marketing's obligation to Maricopa.
27

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1    Schedule H requires a debtor to "[p]rovide the information

2    requested concerning any person or entity, other than a spouse in

3    a joint case, that is also liable on any debts listed by debtor

4    in the schedules of creditors." Whereas Schedule F identifies

5    DeGuire Marketing's debt to Maricopa, Schedule H filed in each

6    Chapter 13 case states that Stephen McGuire and Corey DeGuire are

7    co-debtors on that debt with DeGuire Marketing. Schedule H was

 8   signed and filed under penalty of perjury. See Fed. R. Bankr. P.

 9   1008.
10           Some courts recognize that "[s]tatements in bankruptcy

11   schedules are executed under penalty of perjury and when offered

12   against a debtor are eligible for treatment as judicial

13   admissions." In re Roots Rents, Inc., 420 B.R. 28, 40 (Bankr. D.

14   Utah) (quoting In re Bohrer, 266 B.R. 200, 201 (Bankr. N.D. Cal.

15   2001)) . Other courts treat statements in schedules as

16   evidentiary admissions under Federal Rule of Evidence

17   801(d) (2) (A).   In re Heath, 331 B.R. 424, 431 (9th Cir. BAP 2005)

18   (citation omitted); see also In re Vee Vinhee, 336 B.R. 437, 449

19   (9th Cir. BAP 2005); In re Applin, 108 B.R. 253, 259 (Bankr. E.D.

20   Cal. 1989) . The Ninth Circuit has not squarely addressed the

21   issue. However, in Perfectly Fresh Farms, Inc. v. U.S. Dep't of

22   Agric., 692 F.3d 960 (9th Cir. 2012), the Ninth Circuit opined

23   that bankruptcy schedules were evidence admissible in statutory

24   PACA claims over liability. Consistent with the Ninth Circuit's

25   opinion in Perfectly Fresh Farms and this court's opinion in

26   Applin, this court views, and therefore in this case will treat

27

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1    and admit, each of the debtors' schedules in general - and

2    Schedules F and H filed in each of the debtors' cases in

3    particular - as evidentiary admissions under Federal Rule of

4    Evidence 801(d) (2) (A)

5         The debtors' evidentiary admissions carry significant

6    weight. They represent each debtors' initial assessment of the

7    extent of their individual liability and the basis for their

 8   decision to seek bankruptcy relief. The court also perceives the

 9   inclusion of co-debtor liability as an effort by Stephen DeGuire

10   and Corey DeGuire to insulate themselves personally from

11   liability for Maricopa's claim against DeGuire Marketing through

12   the res judicata effect of a confirmed Chapter 13 plan.

13

14   Conclusion

15         Stephen DeGuire and Corey DeGuire were each individually

16   liable for noncontingent, liquidated, unsecured debts in excess

17   of $383,175 on the petition date. Those debts exceed the

18   statutory limit under § 109(e) . Consequently, Stephen DeGuire

19   and Corey DeGuire are ineligible to be debtors under Chapter 13

20   of the Bankruptcy Code. 6 Therefore, based on the foregoing,
21         IT IS ORDERED that Maricopa's motion to dismiss Case No.

22   15-27614 is GRANTED IN PART AND DENIED IN PART. The motion is

23

24        6 Although ineligible under Chapter 13, nothing precludes
     Stephen DeGuire and Corey DeGuire from filing petitions for
25
     relief under Chapter 11 of the Bankruptcy Code. Nothing
26   precludes Sandra DeGuire from seeking dismissal of her Chapter 13
     case and re-filing with Stephen DeGuire under Chapter 11 should
27   she so choose.

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GRANTED as to Stephen DeGuire and DENIED as to Sandra DeGuire.

     IT IS FURTHER ORDERED that based on the disposition of the
motion to dismiss in Case No. 15-27614, the motion to confirm the

plan filed October 27, 2015, in Case No. 15-27614 is DENIED
without prejudice and the plan filed in Case No. 15-27614 on
October 27, 2015, is not confirmed.
     IT IS FURTHER ORDERED that Maricopa's motion to dismiss Case
No. 15-27615 is GRANTED, and that case is dismissed.
     IT IS FURTHER ORDERED that based on the disposition of the
motion to dismiss in Case No. 15-27615, the motion to confirm the
plan filed October 27, 2015, in Case No. 15-27615 is DENIED as
moot, and the plan filed in Case No. 15-27615 on October 27,

2015, is not confirmed.
     IT IS FURTHER ORDERED that the hearings set in Case Nos.
15-27614 and 15-27615 for January 20, 2016, on each of the above-
referenced matters are VACATED, and no appearance on January 20,
2016, is required.
     Dated: January 19, 2016.



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                           INSTRUCT IONS TO CLERK OF COURT
                                    SERVICE LIST

     The Clerk of Court is instructed to send the attached
document, via the BNC, to the following parties:

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                                            SWIM
